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                      IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                         PLAINTIFF

vs.                                 CASE NO. 4:04CR147GH
MELISSA STOVALL                                                                DEFENDANT

                                          ORDER

       On motion of the government, the Indictment against defendant Melissa Stovall is hereby
dismissed.
       IT IS SO ORDERED this 4th day of May, 2006.


                                                   ___________________________________
                                                   UNITED STATES DISTRICT JUDGE
